4:02-cr-03158-RGK-DLP     Doc # 146    Filed: 07/19/05   Page 1 of 1 - Page ID # 546




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )          4:02CR3158-2
                                         )
            Plaintiff,                   )
                                         )
vs.                                      )          ORDER
                                         )
ALI ABDUL-AZEZ SOFYAN,                   )
                                         )
            Defendant.                   )

       IT IS ORDERED that the government’s motion to extend time for filing of
response and brief (filing 145) is granted. The government’s response and brief in
response to the undersigned’s memorandum order dated July 5, 2005 (filing 143) shall
be filed on or before July 25, 2005.

      July 19, 2005.                         BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
